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EXHIBIT 2

 
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oO Neutral

As of: December 4, 2020 5:01 PM Z

Davis v. Kahn

United States District Court for the District of New Jersey
April 24, 2019, Decided; April 24, 2019, Filed
Civil Action No. 18-8560

Reporter
2019 U.S. Dist. LEXIS 69408 *; 2019 WL 1789471

SHARON DAVIS, Plaintiff v. FEIN SUCH KAHN &

SHEPARD PC, et al., Defendants.

Notice: NOT FOR PUBLICATION

Subsequent History: Dismissed by Davis v. Fein Such
Kahn & Shepard PC, 2020 U.S. Dist. LEXIS 112031
(D.N.J.. June 25, 2020)

Prior History: Davis v. Chase Home Fin.. LLC, 2013

U.S, Dist. LEXIS 154377 (D.N.J.. Sept. 25, 2073)

Core Terms

 

allegations, mortgage, foreclosure action, entire
controversy doctrine, foreclosure, state court, remaining
defendant, motion to dismiss, state-court, documents,
germane, foreclosure proceeding, civil conspiracy,
conspiracy, fraudulent, assigned, dismissal without
prejudice, fraud exception, district court,
misrepresentations, fabricated, judgments, consumer,
facial

Counsel: [*1] SHARON DAVIS, Plaintiff, Pro se,

LINDEN, NJ.

For FEIN SUCH KAHN & SHEPARD PC., Defendant:
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SUCH, KAHN & SHEPARD, PC, PARSIPPANY, NJ.

For US BANK TRUST NA, As trustee for LSF9 Master
Participation Trust, BAYVIEW LOAN SERVICING LLC,
ALEJANDRO DIAZ, Defendants: MICHAEL P.
TRAINOR, LEAD ATTORNEY, BLANK ROME LLP,
PHILADELPHIA, PA.

For ORION FINANCIAL GROUP, CONNIE RIGGSBY,
JANELL JUNKIN, CALIBER HOME LOANS, SANJIV
DAS, U.S. BANK TRUST, N.A., AS TRUSTEE FOR
LSF9 MASTER PARTICIPATION TRUST, Defendants:
ROBERT THOMAS YUSKO, LEAD ATTORNEY,
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ELMSFORD, NY.

For JPMORGAN CHASE BANK NA, Defendant:
CRISTINA ZAMPETTI SINCLAIR, LEAD ATTORNEY,
BERTONE PICCINI LLP, HASBROUCK HEIGHTS, NJ.

For PEIRSONPATTERSON LLC, ADAM W.
SCHEINBACH, ADAM W. SCHEINBACH, ESQ.,
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For M&T BANK TATONIA JOHNSON, Defendant:
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For PHELAN HALLINAN DIAMOND & JONES,
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For WALTER D. NEALY, Att-at-law, Defendant:
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WALTER D. NEALY, LEAD ATTORNEY, WALTER D.
NEALY, HACKENSACK, NJ.

Judges: John Michael Vazquez, United States District
Judge.

Opinion by: John Michael Vazquez

Opinion

 

John Michael Vazquez, U.S.D.J.

In this case, pro se Plaintiff Sharon Davis alleges that
several banks, mortgage servicing companies, law
firms, and related entities/individuals (the
"Defendants")' fabricated documents in connection with
two foreclosure proceedings and one bankruptcy
proceeding involving Plaintiff as well as engaged in a
conspiracy to deprive Plaintiff of her house. D.E. 1, 1-1
(collectively the "Complaint" or "Compl."). Plaintiff
alleges four causes of action: (1) abuse of legal process;
(II) civil conspiracy; (Ill) illegal consumer collection
under the Fair Debi Collection Practices Act ("FDCPA"),
15 U.S.C. § 1692 et seqg.; and New Jersey Consumer
Fraud Act ("NJCFA"), N.JS.A. § 56:8-1; and (IV)
violations of the Rackefeer_/nfluenced_and Corrupt
Organizations ("RICO") Act, 18 U.S.C. §§ 1967,
1962(b), and 1964. D.E. 1-1.

 

 

Currently pending before the Court are Defendants’
motions to dismiss Plaintiffs Complaint. D.E. 5, 8, 10,
13, 14, 23. The Court reviewed the parties’
submissions? and decided the motions without oral

 

‘The Defendants include Fein Such Kahan & Shepard PC
("FSKS"); US Bank Trust NA as trustee for LSF9 Master
Participation Trust ("US Bank"); Bayview Loan Servicing LLC
("Bayview"); Alejandro Diaz; Orion Financial Group ("Orion");
Connie Riggsby; Janell Junkin; JP Morgan Chase Bank NA
("JP"); PeirsonPatterson LLC ("PP"); Adam W. Scheinbach,
Esq.; M&T Bank ("M&T"); Tatonia Johnson; Tommie J.
Nelson; Caliber Home Loans ("Caliber"); Phelan Hallinan
Diamond & Jones ("PHDJ"); and Waleter D. Nealy, Esq. D.E.
1, 1-1.

2The Court reviewed Bayview's brief, D.E. 5 ("Bayview Br.");

argument [*3] pursuant to Fed. R. Civ. P. 78(b) and L.
Civ. R. 78.1(b). For the reasons set forth below, the
Complaint is dismissed.

I. INTRODUCTION?

This case concerns a mortgage, two foreclosure
proceedings, and a bankruptcy proceeding. On July 28,
2003, Plaintiff executed a promissory note for
$133,000.00 with M.L. Moskowitz d/b/a Equity Now
secured by a mortgage (the "Mortgage") on her
property. Compl. J 70; D.E. 23-1, Ex. A-B. Equity Now
assigned the Mortgage to Chase Manhattan Morigage
Corporation ("Chase")* (the "First Assignment") on
August 11, 2004. Compl. 9 171; D.E. 23-1, Ex. C. In July
2008, Chase brought a foreclosure action against
Plaintiff in the New Jersey Superior Court, Chancery
Division, Union County (Docket No. F-40772-08) (the
"2008 Foreclosure Action "), Compl. J 72, but the action
"was dismissed after the Plaintiff accepted a trial loan
modification on March 11, 2009," id. J 73, see also D.E.
5-3, Ex. C (the loan modification agreement). Defendant
FSKS represented Chase in this action. /d., J 17.5

 

PP's brief: D.E. 8 ("PP Br."); JP's brief, D.E. 10 ("JP Br.");
FSKS's brief, D.E. 13 ("FSKS Br."); Caliber's brief: D.E. 14
("Caliber Br."); and PHDJ's brief, D.E. 23 ("PHDJ Br."); in
support of their respective motions to dismiss. The Court also
reviewed Plaintiff's oppositions to each of these briefs. D.E. 9
("Pl. Bayview Opp'n"); D.E. 12 ("Pl. PP Opp'n"); D.E. 18 (PI.
JP Opp'n"); D.E. 20 ("PI. FSKS Opp'n"); D.E. 21 ("PI. Caliber
Opp'n"); and D.E. 26 ("Pl. PHDJ Opp'n"). The Court then
reviewed the Defendants' respective replies to these
oppositions. D.E. 16 ("Bayview Reply"); D.E. 19 ("PP Reply");
D.E. 22 ("JP Reply"); D.E. 24 ("FSKS Reply"); D.E. 25
("Caliber Reply"); and D.E. 27 ("PHDJ Reply’).

3 The factual background is taken from Plaintiffs Complaint,
D.E. 1, 1-1 (collectively "Compl."), and matters of public record
referenced or relied upon therein. When reviewing a motion to
dismiss for failure to state a claim, a court accepts as true all
well-pleaded facts in the Complaint. Fowler v. UPMC
Shadyside. 578 F.3d 203. 210 (3d Cir. 2009). A court may also
consider any document integral to or relied upon in the
Complaint and matters of public record such as court orders.
In re Burlington Coat Factory Sec. Litig., 114 F.3d 1410, 1426
(3d_Cir. 1997); Khan v. Borough of Englewood Cliffs, No. 12-
7837, 2014 U.S, Dist. LEXIS 9958, 2014 WL_295069, at *3
(D.N.J_ Jan. 27, 2074).

4Chase later merged with Defendant JP. Compl. J 3.
Therefore, when the Court refers to Chase, it is also referring
to Defendant JP.

 

5 Plaintiff also mentions an additional lawsuit that she filed
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Chase then assigned the Mortgage to Defendant
Bayview on March 4, 2014 (the "Second Assignment ").
Compl. 7 75; D.E. 23-1, Ex. D. Plaintiff alleges that
Defendants Schienbach and PP were involved in
drafting the Second [*4] Assignment. Compl. {JJ 2, 14,
30. Defendant Johnson signed the Second Assignment
as representative from JP, and Defendant Nelson
notarized it. /d. Jf} 15, 16. On July 15, 2014, Bayview
brought a foreclosure action against Plaintiff in the
Superior Court of New Jersey, Chancery Division, Union
County (Docket No. F-028783-14) for failing to make an
installment payment on May 1, 2010 (the "2014
Foreclosure Action"). Id. J 76; D. E. 23-1, Ex. E.
Defendant FSKS represented Bayview in this action. /d.
q 76. Defendant Diaz submitted a certification in support
of Bayview. Compl. 7] 7, 36. This action resulted in a
final judgment in favor of Bayview on November 4,
2016. Compl. J 78; D.E. 23-1, Ex. H.

On December 3, 2016, Plaintiff filed for Chapter 13
bankruptcy in the United States Bankruptcy Court for
the District of New Jersey (Docket No. 16-33116) (the
"2016 Bankruptcy Action"). Compl. {| 19; D.E. 23-1, Ex.
J. On January 18, 2017, Bayview assigned the
Mortgage to Defendant U.S. Bank (the "Third
Assignment"). Compl. { 97; D.E. 23-1 Ex. |. Defendant
Riggsby signed the Third Assignment as "Vice President
of Bayview Loan Servicing, LLC by Caliber Home
Loans," and Defendant Junkin notarized it. [*5] Compl.
Tl 9, 10, 27, 29. Plaintiff alleges that both Riggsby and
Junkin are actually employees of Defendant Orion. /d.
W719, 10. U.S. Bank then filed a Proof of Claim in the

 

against JP in 2011 for “negligently hir[ing}] a property
preservation company" who "kicked in the Plaintiffs front door,
entered," and “strew[] around" Plaintiff's "items of clothing and
other things ...in an attempt to make it appear unkempt."
Compl. 40-41. Plaintiff alleges that the property
management company "stole items from the interior of the
house, broke into a locked shed and stole lawn and garden
equipment and other items from the exterior and changed the
lock on [a] shed and the front door and included a lockbox,"
and "broke a key in the side entrance lock, jamming the door.”
ld. 42. Plaintiff adds that in 2013, her property was "damaged
due to fire," and JP “intentionally withheld the proceeds
designated for the repair and deposited by the Plaintiff into a
secured account until the Plaintiff dismissed the action against
them. " /d. J 46. Plaintiff indicates that the "complaint was
dismissed without prejudice." /d. Plaintiff also alleges that
Defendant M&T “at all times material hereto allegedly
purchased the Plaintiffs loan" and "failed to conduct a
requisite inspection of the Plaintiffs property after fire damage
and released insurance proceeds absent a secured lien ...
decreasing the Plaintiffs property valuation." /d. {| 11.

2016 Bankruptcy Action on May 23, 2017. /d. J 20.
Defendant PHDJ represented U.S. Bank, and
Defendant Nealy represented Plaintiff. /d. J¥f 17, 23.

Plaintiff filed her Complaint in the present matter on
April 30, 2018, alleging -(1) abuse of legal process; (il)
civil conspiracy; (Ill) illegal consumer collection under
the Fair Debt Collection Practices Act ("FDCPA"), 15
U.S.C. § 1692 et seg.; and New Jersey Consumer
Fraud Act (“NJCFA"), N.JS.A. § 56:8-7; and (IV)
violations of the Racketeer Influenced _and Corrupt
Organizations ("RICO") Act, 18 U.S.C. §§ 1961,
1962(b), and 1964. Id. [ff 88-111. At the core of each of
Plaintiffs claims is the allegation that documents
submitted to, and relied upon by, the courts in these
prior and ongoing proceedings are fabricated. Id. at 1.
Plaintiff alleges that Defendants engaged in "robo-
signing[,]" meaning the "[pjrocess of mass production of
false and forged execution of mortgage assignments, ...
and other legal documents related to morigage
foreclosure and legal matters being created by persons
without knowledge of the facts being attested to." Id.
T [*6] 64(e) n.13.

 

Plaintiff's Complaint is not a model of clarity. Aside from
the litany of conclusory allegations, the Court identified
the following factual allegations supporting this theory.
All of Plaintiffs factual allegations relate to either the
2008 Foreclosure Action, the 2014 Foreclosure Action,
or the 2016 Bankruptcy Action. Regarding the 2008
Foreclosure Action, Plaintiff alleges that Whitney K.
Cook (not a Defendant), an employee of Defendant
Chase and "known robo-signer,” submitted an affidavit
and supplemental certification to the Superior Court of
New Jersey on Chase's behalf Compl. Jf] 50, 51, 64(d),
64(e)(4), 68, 97, 102. Regarding the 2014 Foreclosure
Action, Plaintiff alleges (1) that Defendant Diaz, a Vice
President at Bayview, submitted a certification to the
Superior Court of New Jersey on Bayview's behalf that
constitutes "robe-signing" because it was "void of
calculations or amounts due” and included a signature
that was "unlike" or "did not match" another signature by
Diaz that Plaintiff located, id. 1] 1 7, 36,36 n.6, 77, 97;
and (2) that the Second Assignment, which the Superior
Court of New Jersey relied upon, contained “robo-
singing" because notary Defendant [*7] Nelson's
signature "d[id] mot match" that supplied by the
Louisiana Secretary of State, id. Ff 16, 64(e)(3).
Regarding the 2016 Bankruptcy Action, Plaintiff alleges
that the Third Assignment, included in U.S. Bank's Proof
of Claim, included a misrepresentation by Defendant
Riggsby, a "robo-signer," indicating that she was Vice
President of Bayview when really, she was an employee
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of Orion, Compl. Tf] 27, 28, 60,60 n.9, 64(e)(2), 82.
Plaintiffs pleading labels these above assertions as
"general allegations and facts common to all counts." /d.
at 17.

Defendants moved to dismiss the Complaint for lack of
jurisdiction under Fed. R. Civ. P. 12(b)(71) and for failure
to state a claim under Fed. R. Civ. P. 12/b)(6). D.E. 5, 8,
10, 13, 14, 23. Plaintiff opposed each motion, D.E. 9,
12, 18, 20, 21, 26, and Defendants replied, D.E. 16, 19,
22, 24, 25, 27.

ll. STANDARD OF REVIEW

Rule 12(b)(1)

In deciding a Federal Rule_of Civil Procedure _12(b)(1)
motion for lack of subject-matter jurisdiction, a court
must first determine whether the party presents a facial
or factual attack because the distinction determines how
the pleading is reviewed.® A facial attack "contests the
sufficiency of the complaint because of a defect on its
face," whereas a factual attack "asserts that the factual
underpinnings of the basis [*8] for jurisdiction fails to
comport with the jurisdictional prerequisites.” E/beco Inc.
v. Nat'l Ret. Fund, 128 F. Supp. 3d 849, 854 (E.D. Pa.
2015) (quoting Moore v. Angie's List, Inc., 118 F. Supp.
3d_802, 806 (E.D. PA. 20 15)). When a party moves to
dismiss prior to answering the complaint, as is the case
here, the motion is generally considered a facial attack.
Constitution Party of Pa. v. Aichele, 757 F.3d 347, 358

(3d Cir. 2074).

 

 

For a facial attack, "the Court must consider the
allegations of the complaint as true," much like a Rule
12(b)(6) motion to dismiss. Bd. of Trs. of Trucking Emps
of N. Jersey Welfare Fund, Inc. v. Caliber Auto Transfer,
Inc., No. 09-6447, 2010 U.S. Dist. LEXIS 57759, 2010
WL_2521091, at *8 (D.N.J. June 17, 2010) (quoting
Petruska v. Gannon Univ., 462 F.3d 294, 302 (3d Cir.
2006)). The burden is on the Plaintiff to prove the Court
has jurisdiction. /d. (citing Petruska, 462 F.3d at 302),

 

 

 

® This Court also has an independent obligation to establish
that it has subject-matter jurisdiction. More! v. INS. 144 F.3d
248, 251 (3d Cir. 1998) ("[A federal] court ... will raise lack of
subject-matter jurisdiction on its own motion.") (quoting /ns.
Corp. of Jr., Ltd. v. Compagnie des Bauxites de Guinee, 456
U.S. 694, 702. 102 S. Ct. 2099, 72 L. Ed. 2d 492 (1982)).

 

Rule 12(b)(6)

Federal Rule of Civil Procedure _12(b)(6) permits a
motion to dismiss when a complaint fails "to state a
claim upon which relief can be granted[.J" For a
complaint to survive dismissal under Rule _72/b)(6), it
must contain enough factual matter to state a claim that
is plausible on its face. Ashcroft v. Iqbal, 556 U.S. 662,
678, 129 S. Ct. 1937, 173 L. Ed. 2d 868 (2009) (quoting
Bell Atl, Corp. v. Twombly, 550 U.S. 544, 570, 127 S.
Ct. 1955, 167 L. Ed. 2d 929 (2007)). A claim is facially
plausible "when the plaintiff pleads factual content that
allows the court to draw the reasonable inference that
the defendant is liable for the misconduct alleged." /d.
Further, a plaintiff must “allege sufficient facts to raise a
reasonable expectation that discovery will uncover proof
of her claims.” Connelly v. Lane Const. Corp., 809 F.3d
780, 789 (3d Cir. 2076). In evaluating the sufficiency of
a complaint, district courts must separate the factual
and legal elements. Fowler v. UPMC Shadyside. 578
F.3d 203, 210-211 (3d Cir. 2009). Restatements of the
elements of a claim are legal conclusions, and
therefore, [*9] not entitled to a presumption of truth.
Burtch v. Milberg Factors, Inc., 662 F.3d_212, 224 (3d
Cir. 2011). The Court, however, "must accept all of the
complaint's well-pleaded facts as true." Fowler, 578
F.3d at 210. Because Plaintiff is proceeding pro se, the
Court construes the pleadings liberally and holds them
to a less stringent standard than those filed by
attomeys. Haines v. Kerner, 404 U.S. 519, 520, 92 S.
Ct_594, 30_L. Ed. 2d 652 (1972). "The Court need not,
however, credit a pro se plaintiff's 'bald assertions’ or
‘legal conclusions." D'Agostino _v. CECOM RDEC, No.
10-4558, 2010 U.S. Dist. LEXIS 95666, 20170 WL
3719623, at *1 (D.N.J. Sept. 10, 2070).

 

 

Rule 9(b)

"Independent of the standard applicable to Rule 72(b)/6)
motions, Rule 9/b) imposes a heightened pleading
requirement of factual particularity with respect to
allegations of fraud." /n_re Rockefeller Ctr. Props., Inc.
Sec._Litig.. 311 F.3d 198, 216 (3d Cir. 2002). Thus,
pursuant to Rule 9/6), when “alleging fraud or mistake, a
party must state with particularity the circumstances
constituting fraud or mistake [mJalice, intent,
knowledge, and other conditions of a person's mind may
be alleged generally." Fed. R. Civ. P. 9/b). A party
alleging fraud must therefore 7 support its allegations
with factual details such as "the who, what, when, where
and how of the events at issue." U.S. ex rei. Moore &

 

 
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Co., P.A. v. Majestic Blue Fisheries, LLC, 812 F.3d 294,
307 _(3d_Cir. 2016). Accordingly, "[t]o satisfy the
particularity standard, ‘the plaintiff must plead or allege
the date, time and place of the alleged fraud or
otherwise inject precision or some measure of
substantiation into a fraud allegation." Feingold v. Graff,
516 F. App'x 223, 226 (3d Cir. 2013) (citing Frederico v.
Home Depot, 507 F.3d_188. 200 (3d Cir. 2007)). This
heightened [*10] pleading standard is designed to
"ensure that defendants are placed on notice of the
precise misconduct with which they are charged, and to
safeguard defendants against spurious charges of
fraud." Craftmatic Sec. Litig. v. Kraftsow, 890 F.2d 628,
645 (3d Cir. 1989) (internal quotation marks omitted).

 

lll. ANALYSIS

All of Plaintiffs claims are premised on the allegation
that Defendants acted as "willing participants in an
elaborate scheme" to "utilize misrepresentations and
fabricated assignments to obtain favorable rulings in
State Courts and/or validate themselves in the
Bankruptcy Courts." Compl. at 1; see also id. { 64.
Because this theory implicates state court judgments,
the Rooker-Feldman doctrine potentially applies.

Rooker-Fefdman Doctrine

Defendants argue that the Court lacks jurisdiction to
hear Plaintiffs claims under the Rooker-Fehiman
doctrine. Bayview Br. at 7-9; PP Br. at 2; JP Br. at 6-9;
FSKS Br. at 5-7.’ "The Rooker-Feldman doctrine
precludes lower federal courts from exercising appellate
jurisdiction over final state-court judgments because
such appellate jurisdiction rests solely with the United
States Supreme Court." /n_re Madera, 586 _F.3d_228,
232 (3d Cir. 2009) (quoting Lance v. Dennis, 546 U.S.
459, 463. 126 S. Ct. 1198, 163 L. Ed. 2d 1059 (2006));
see also Williams v. BASF Catalysis LLC, 765 F.3d 306,
315 (3d Cir. 2014). The Third Circuit has ruled that the
doctrine applies when four elements are met: "(I) the
federal [*11] plaintiff lost in state court; (2) the plaintiff
‘complain[s] of injuries caused by [the] state-court
judgments'; (3) those judgments were rendered before
the federal suit was filed; and (4) the plaintiff is inviting

 

 

? The Court recognizes that all Defendants make an argument
under Rooker-Feldman, Caliber Br. at 8-9; PHDJ Br. at 12-13,
but notes that only state-court proceedings (not a federal
bankruptcy proceeding) implicate the doctrine.

the district court to review and reject the state
judgments." Great TV. Mining & Mineral Co. v. Fox
Rothschild LLP, 615 F.3d 159, 166 (3d Cir. 2010) (citing
Exxon Mobil Corp. v. Saudi Basic Indus., Inc., 544 U.S.
280, 284, 125 S. Ct. 1517, 161 L. Ed. 2d 454 (2005)). In
other words, "[ijfthe relief requested in the federal action
requires determining that the state court's decision is
wrong or would void the state court's ruling, then the ...
district court has no subject matter to hear the suit.”
FOCUS v. Allegheny Cty. Court of Common Pleas, 75

F.3d 834, 840 (3d Cir. 1996).

 

Here, Defendant Bayview argues the following:

(1) a final judgment of Foreclosure was entered
against Plaintiff on November 4, 2016 in the [2014]
Foreclosure Action; (2) any injuries Plaintiff now
complains of (i.e., the pending loss of the Property)
were self-inflicted as a result of her default on the
Mortgage; (3) jud&rment was entered in the [2014]
Foreclosure Action nearly two years prior to the
commencement of the instant action; and (4)
Plaintiff is clearly inviting this Court to review and
reject the Superior Court's decision in the [2014]
Foreclosure Action by challenging Bayview's
standing to foreclose and seeking damages for
alleged fabrication [*12] of evidence in that state
action.

Bayview Br. at 9; see a/so PP Br. at 2 (incorporating this
analysis by reference).

Plaintiff does not dispute Bayview's position. Plaintiff
instead argues that her claims fall within the "fraud
exception" to the Rooker-Feldman Doctrine, and
therefore the Court still has jurisdiction over the matter.
Pl. Bayview Opp'n at 12-13. "Under the fraud exception,
which has been embraced by the Courts of Appeal for
the Sixth and Ninth Circuits, Rooker-Feldman does not
apply when the plaintiff asserts that the ‘state court
judgments were procured by ... [the djefendants through
fraud, misrepresentation, or other improper means,’
because such claims are "independent" of the claims
brought in state court." Campbell v. Tabas, No. 16-6573,
2017 U.S. Dist. LEXIS 115722, 2017 WL _3142 118, at
*3 (E.D. Pa. July 25, 2017) (quoting McCormick_v.
Braverman, 451 F.3d 382, 392-93 (6th Cir. 2006) and
citing Kougasian" TMSL. Inc., 359 F.3d_1136 (9th Cir.
2004 )). Yet, “the Second, Fifth, Seventh, Eighth, Tenth,
and Eleventh Circuits have rejected the exception as
have district courts from the Fourth Circuit." fd. (citing
appropriate cases from each of these circuits). "The
Court of Appeals for the Third Circuit has not definitively

 

 
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weighed in on this debate, though it has discussed the
exception in dicta and in nonprecedential opinions." /d.
(explaining that the Third Circuit discussed [*13] the
exception "favorably" in Great W. Mining & Mineral Co.
v. Fox Rothschild LLP. 615 F.3d 159 (3d Cir. 2010) and
applied it "inconsistently" in several unpublished
opinions thereafter). Therefore, it is unclear whether this
exception exists within the Third Circuit.

 

 

Regardless, even if the Court were to recognize the
fraud exception, it does not apply here. The fraud
exception to the Rooker-Feldman Doctrine does not
protect a plaintiffs "attempt[] to overturn a state-court
foreclosure judgment by cloaking his objections to the
[state-court] decision in a veneer of fraud.” Kajla_v.
Cleary, No. 18-15449, 2019 U.S. Dist. LEXIS 67, 2019
WL 77067, at *3 (D.N.J. Jan. 2, 2019). In other words, a
plaintiff

 

cannot evade Rooker-Feldman by arguing on
appeal that he was not injured by the the reclosure
judgment, but rather by [the defendant]'s
purportedly fraudulent actions. [It] [t]he complaint
reveals [that] the nature of [the plaintiff's claims
against [the defendant] [is] that the [the defendant]
had no right to foreclose on the property and
therefore committed "criminal acts” by enforcing the
foreclosure judgment [then] [t]hese claims are in
essence an attack on the state court judgment of
foreclosure [and are therefore] properly
dismissed under the Rooker-Feldman doctrine.

In_re Farrington, No. 17-1775, 2019 U.S. Dist. LEXIS
40048, 2019 WL 1149881, at *4 (D.N.J. Mar. 17, 2019)
(quoting Gage v. Wells Fargo Bank. N.A., 521 F. App’x
49, 51 (3d Cir. 2013)). Moreover, courts are reluctant to
recognize the [*14] fraud exception when a plaintiff
already raised the fraud argument in the state court
action and the state court rejected it. See Kajla, 2019
U.S. Dist. LEXIS 61, 2019 WL 77067, at *3 (finding that
Plaintiffs fraud claim was barred by Rooker-Feldman
because "Plaintiff alleged in the state-court proceedings
that the foreclosure was fraudulent, and Plaintiff alleges
much of the same here," and "Plaintiff was denied relief
in state court, and now seeks similar relief here in
federal court."); see also Lawrence v. Emigrant _Mortg.
Co., No. 11-3569, 2012 U.S. Dist, LEXIS 47020, 2012
WL_ 1108532, at *8 (D.N.J. Mar. 30, 2072) ("Assuming
Plaintiff is alleging fraud, Rooker-Feldman would bar
this Court's determination of the fraud claim because
Plaintiff raised the question of whether [the defendants]
committed fraud in the Chancery Court.").

 

 

 

As to the 2014 Foreclosure Action, Plaintiff asserts that
Bayview had no right to foreclose on the property
because either the First Assignment (assigning
Plaintiffs Mortgage to Chase) or the Second
Assignment (assigning Plaintiffs Mortgage to Bayview)
was fraudulent. See Compl. 7 64 (in the "General
Allegations and Facts Common to All Counts," the
Complaint reads: "Plaintiff alleges that all Defendants
intentionally acted in concert and in furtherance of a
scheme to defraud Plaintiff of her property when they
knew that they [*15] lacked the legal right to do so").
Plaintiff also alleges that certain certifications submitted
in state court to support these Assignments were
fraudulent. Compl. {| 64(e)(4); 77. However, Plaintiff
made these same allegations of fraud in the 2014
Foreclosure Proceeding; Plaintiff admits that she "filed
an Objection to prove that the Defendants lacked
standing based on the fabricated documents and
misrepresentations.” /d. 38. The Superior Court of New
Jersey entered a final judgment in favor of Bayview
nonetheless. /d. 1 39. Thus, Plaintiff's claims of fraud in
connection with the First Assignment and Second
Assignment are, in essence, an attack on the Superior
Court of New Jersey's final judgment of foreclosure in
the 2014 Foreclosure Action. Therefore, the Court lacks
subject matter jurisdiction to hear claims premised on
these allegations under the Rooker-Feldman doctrine.
As a result, the Court grants dismissal under Rule
12(b)(1) as to the allegations that relate to the 2008 or
2014 Foreclosure Action.

Entire Controversy Doctrine

Additionally, Plaintiffs claims related to the 2008 and
2014 Foreclosure Actions run afoul of the New Jersey's
entire controversy doctrine, as Defendants argue.
Bayview [*16] Br. at 9-12; PP Br. at 2; JP Br. at 10-118
When deciding a motion based on preclusion, the Court
applies the preclusion law from the first forum, here New
Jersey state court. Chavez v. Dole Food Co., Inc., 836
F.3d 205, 221 (3d Cir. 20176). "The entire controversy
doctrine is essentially New Jersey's specific, and
idiosyncratic, application of traditional res judicata
principles." Rycoline Prods., Inc. v. C_& W Unlimited,
109 F.3d 883, 886 (3d Cir. 1997). Similar to res judicata,

 

 

 

8 The Court recognizes that Defendant PHDJ also argues that
the New Jersey entire controversy doctrine applies to Plaintiff's
claims against them, PHDJ Br. at 9-12; however, the Court
understands Plaintiff's claims against PHDJ relate to the 2016
Bankruptcy Action so that New Jersey's entire controversy
doctrine does not apply.
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the entire controversy doctrine "extinguishes any
subsequent federal-court claim that could have been
joined but was not raised in the prior state action." Sil/jee
v. Ail. Stewardship Bank, No. 15-1762, 2016 U.S. Dist.
LEXIS 63257, 2016 WL 2770806, at *7 (D.N.J. May 12,
2016). The entire controversy doctrine is an affirmative
defense that may be considered as bounds for dismissal
under Rule _72(b)(6) if its application is clear from the
face of the complaint. Rycoline Prods.. Inc., 109 F.3d at
886.

 

New Jersey Court Rule 4:30A, which codifies the entire
controversy doctrine, provides that "[nJon-joinder of
claims required to be joined by the entire controversy
doctrine shall result in the preclusion of the omitted
claims to the extent required by the entire controversy
doctrine." Generally, "“[t]he entire controversy rule
applies in federal court where there has been a previous
state court action involving the same transaction."
Puche, 256 F. Supp. 3d_at 547. Rule 4:30A, however,
only applies to claims that could have been joined in the
prior proceeding. Siljee, 2016 U.S. Dist. LEXIS 63257,
2016 WL 2770806, af *8. Further, in the context [17] of
foreclosure matters, the entire controversy doctrine is
limited to "germane" claims. /d. (citing N.J. Ct Rule
4:64-5). In other words, if a claim was not germane, it
would not be subject to the entire controversy doctrine.

 

 

A claim is germane if it arises out of the underlying
mortgage transaction. Si/iee, 2076 U.S. Dist. LEXIS
63257, 2016 WL_2770806._ at *8 (quoting Leisure
Tech.—Ne, v. Klingbeil Holding Co., 137 N.J. Super.
353, 358, 349 A.2d 96 (App. Div. 1975)). A claim is also
germane if it is based on "conduct of the mortgagee ...
prior to the institution of a foreclosure that could be the
basis of an independent action for damages by reason
of the mortgagee having brought the foreclosure[.)"
Zebrowski_v. Wells Fargo Bank, N.A.. No. 07-5236,
2010 U.S. Dist. LEXIS 61796, 2010 WL _ 2595237, at *6
(D.N.J. June 21, 2010) (quoting Sun _NLF Lid.
Partnership v. Sasso, 313 N.J. Super. 546, 713 A.2d
538, 540 (App. Div. 1998)). In addition, "[c]laims that
loan servicers violated their statutory duties under
RESPA are germane to foreclosure proceedings on the
mortgaged property." Puche, 256 F. Supp. 3d_at 549;
see also Siliee, 20716 U.S. Dist. LEXIS 63257, 2016 WL
2770806, at “10 (concluding that RESPA claim was
germane to prior foreclosure matter).

 

 

 

 

 

Here, Plaintiffs allegations of fraud in connection with
the First and Second Assignments arise out of the
underlying mortgage transaction. Therefore, these
claims are germane and would also be barred by the

New Jersey entire controversy doctrine, warranting
dismissal under Rule 12(b)(6).9

Plaintiffs claims against Defendants Bayview, FSKS,
Diaz, PP, Scheinbach, [*18] Johnson, and Nelson
appear to relate solely to the state-court foreclosure
proceedings. Having found that the Court lacks
jurisdiction under Rooker-Feldman to hear Plaintiff's
claims relating to these state-court foreclosure
proceedings, and that the New Jersey entire
controversy doctrine would similarly warrant dismissal of
these claims, the Court dismisses Plaintiff's claims as io
these Defendants. Providing Plaintiff with an opportunity
to amend the Complaint as to these Defendants would
be futile because an amendment could not overcome
the Rooker-Feldman or New Jersey entire controversy
doctrine. As a result, dismissal is with prejudice as to
Defendants Bayview, FSKS, Diaz, PP, Scheinbach,
Johnson, and Nelson. See Mason v. US Bank, No. 16-
1366, 2016 U.S. Dist. LEXIS 171255, 2016 WL
7189828, at *6 (D.N.J. Dec. 12, 2016). A dismissal with
prejudice means that Plaintiff is precluded from filing
any future suit against Defendants concerning the
pertinent allegations in the Complaint.

 

 

The only Defendants remaining are those whose
alleged conduct relates to the 2016 Bankruptcy Action,
specifically Defendants U.S. Bank, Riggsby, Junkin,
Orion, Caliber, PHDJ, M&T, JP and Nealy. The Court
has not been apprised of any resolution to the 2016
Bankruptcy Action that would warrant the
application [*19] of preclusion principles. Therefore, the
Court analyzes Plaintiffs claims as to the remaining
Defendants on the other grounds that were raised.

Standing

Defendants argue that Plaintiff lacks standing to
challenge the assignment of her mortgage because she
was not a party to the contract. Bayview Br. 13-14;
PHDJ Br. at 7-8; FSKS Br. at 18; PP Br. at 2. As stated,
Plaintiffs claims related to the First and Second
Assignment have already been dismissed. However,
Plaintiff also premises her claims against the remaining
Defendants on the invalidity of the Third Assignment,
attached to the Proof of Claim submitted in the 2016

 

®Having found that Plaintiffs claims related to the First and
Second Assignments are barred by the Rooker-Feldman
Doctrine and New Jersey entire controversy doctrine, the
Court does not conduct a separate analysis as to the res
judicata or standing arguments that were raised.
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Bankruptcy Action. Compl. J 60 ("The post-petition
Assignment of Mortgage attached to the Proof of Claim
contained misrepresentations wherein the — signer,
Connie Riggsby represented that she was the Vice
President of Bayview Loan Servicing, LLC by Caliber
Home Loans."); see also id. 64(e)(2), 82, 98. Thus, the
Court analyzes Defendants’ standing argument as to the
Third Assignment.

"As a preliminary jurisdictional matter, . . . [clourts in the
Third Circuit have repeatedly held mortgagors lack
standing to contest the assignment of their mortgages or
notes ... where plaintiff's [*20] are not parties to or third-
party beneficiaries of the . . . assignment." Perez v. JP
Morgan Chase Bank, N.A.. No. 14-2279, 2016 U.S. Dist.
LEXIS 24689, 2016 WL 816752, at *3 (D.N.J. Feb. 29,
2016).'° Here, Plaintiff is not a party to, or third-party
beneficiary of: the Third Assignment. Therefore, Plaintiff
does not have standing to challenge the validity of the
Third Assignment and cannot bring claims on that basis.
Plaintiffs only allegations against Defendants Riggsby
and Junkin are that Riggsby misrepresented her title on
the Third Assignment, and Junkin knowingly notarized it,
making the Third Assignment invalid. Compl. {| 27, 29,
60, 62, 64(e)(2), 82. Plaintiff does not have standing to
bring claims against Defendants Riggsby and Junkin on
this basis; therefore, Plaintiffs claims are dismissed as
to Defendant's Riggsby and Junkin. Further, since an
opportunity to amend the Complaint as to these
Defendants on this theory would be futile, Plaintiff's
claims against Defendants Riggsby and Junkin are
dismissed with prejudice. See Mason, 2016 U.S. Dist.
LEXIS 171255, 2016 WL_7189828, at *6. The remaining
Defendant's are therefore U.S. Bank, Orion, Caliber,
PHDJ, Nealy, M&T, and JP as the remaining
Defendants in the action.

 

 

Abuse of Process (Count 1)

 

19 Citing Bauer v. Mortg, Elec. Registration Sys... Inc.. 618 Fed.
App'x 147,149 (3d Cir. 2015); Pillitteri v. First Horizon Home
Loans, No. 14-03076, 2015 U.S. Dist. LEXIS 22296, 2015 WL
790633, at *4 (D.N.J. Feb. 25, 2015): Eun Ju Song v. Bank of
Am., N.A., No. 14-3204, 2015 U.S. Dist, LEXIS 6204, 2015
WL_248436, at *2 (D.N.J. Jan. 20, 2015); Oliver_v. Bank of
Am., N.A.. No. 13-4888, 2014 U.S. Dist. LEXIS 51130, 2014
WL _ 1429605, at *3 (D.N.J. Apr. 14, 2014); Schiano v. MBNA,
No. 05-1771, 2013 U.S. Dist. LEXIS 81440, 2013 WL
2452681, at *26 (D.N.J. Feb. 11, 2013); and Grullon v. Bank of
Am.,_N.A., No. 10-5427, 2013 U.S. Dist. LEXIS 48394, 2013
WL 968 1040, at* 12 (D.N.J. Mar. 28, 2073).

 

 

 

in Count I, Plaintiff alleges abuse of process against
Defendant's [*21] U.S. Bank, Orion, Caliber, PHDJ,
M&T, and JP.11 Compl. {ff 88-94. "The essential
elements of misuse or abuse of process ‘are an ulterior
motive and some further act after the issuance of
process representing the perversion of the legitimate
use of the process." Prunkel v. Cty. of Bergen, No. 17-
5154, 2017 U.S. Dist. LEXIS 188776, 2017 WL
5483165, at *7 (D.N.J. Nov. 15, 2017) (quoting Simone
v. Golden Nugget Hotel & Casino, 844 F.2d 1031, 1036-
37 (3d_Cir. 1988) (applying New Jersey law)). Here,
Plaintiff alleges that Defendants "abused _...the
bankrupicy[] process by filing false documents to
support their claim." /d. 92. Plaintiff does not however
identify any allegedly false documents that Defendants
submitted to the Court in the 2016 Bankruptcy
Proceeding (aside from the Third Assignment, which the
Court already explained Plaintiff does not have standing
to challenge). All other allegations are conclusory.
Therefore, the Court dismisses Plaintiffs abuse of
process claim (Count I) without prejudice.

 

 

 

 

FDCPA/NJCFA (Count Ill)

Plaintiff next brings claims under the FDCPA and NJCF
A labelled “illegal consumer consumption." Compl. Jf
100-108. First,

To prevail on an FDCPA claim, a plaintiff must
prove that (1) she is a consumer, (2) the defendant
is a debt collector, (3) the defendant's challenged
practice involves an attempt to collect a "debt" as
the Act defines it, and (4) the defendant [*22] has
violated a provision of the FDCPA in attempting to
collect the debt.

Douglass _v. Convergent Outsourcing, 765 F.3d_299,
303 _(3d_Cir. 2014). As to the fourth element, Plaintiff
pleads a violation of 75 U.S.C. § 7692e(70) and 15
U.S.C. § 1962f. Compl. J 107. Section 71692e/70)
proscribes "[t]he use of any false representation or
deceptive means to collect or attempt to collect any debt
or to obtain information concerning a consumer." 75
U.S.C. § 1692e(10). Section 1962f forbids "use unfair or

 

 

14 Again, Plaintiff included Defendants FSKS, Bayview, Diaz,
Johnson, and Nelson in this Count for "abuse of the legal
process in connection with the foreclosure lawsuits,” Compl. J
88, but these parties have been dismissed. Plaintiff also
included Defendants Riggsby and Junkin for "abuse of the
legal process in connection with the ... filing of the Proof of
Claim," id. but these parties have also been dismissed.
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unconscionable means to collect or attempt to collect
any debt." 75 U.S.C. § 16927.

Here, Plaintiffs factual allegations regarding a violation
of these pro visions seem to relate primarily to the 2008
and 2014 Foreclosure Actions, see Compl. J 104-107,
which, as explained, this Court cannot consider. To the
extent that Plaintiff is basing these violations on the in
validity of the Third Assignment, the arguments are not
considered for lack of standing as explained above.
Plaintiff remaining allegations are conclusory and
insufficient The Court dismisses Plaintiffs FDCPA claim
without prejudice.

The NJCFA is comprised of the following elements: "(1)
unlawful conduct by the defendant; (2) an ascertainable
loss by the plaintiff; and (3) a causal connection
between the defendant's unlawful conduct and the
plaintiffs ascertainable loss." Payan_v. GreenPoint
Mortg. Funding, Inc., 681 F. Supp. 20 564, 572 (D.N.J.
2010) (citing Bosland v. Warnock Dodge, Inc., 197 N.J.
543, 964 A.2d 741 (2009)). As to [*23] the first element,
Plaintiff does not specify which provisions of the NJCFA
Defendants are alleged to have violated. Additionally,
Plaintiff again premises her claim on events adjudicated
in the 2008 and 2014 Foreclosure Actions as well as
impropriety in the Third Assignment. See Compl. 91
103-1 07. As explained above, these the Court does not
consider these allegations. Plaintiff mentions "[flailure to
engage in pre-foreclosure settlement discussions,"
"[dJual-tracking,” "[rjetuming mortgage payments to
cause default," "[tlampering with evidence,” "double-
billfing]," imposition of other fees, and other allegedly
improper conduct, id. J] 104-05, but does not identify
who, specifically, engaged in these acts and when.
Thus, Plaintiff's allegations of unlawful conduct, the first
element, are either insufficient or conclusory. Plaintiff
also claims her ascertainable loss, the second element,
to be "slander to her _ creditworthiness and
emotional/physical health issues,” jd. ff 108, but
provides no legal support showing that these are
sufficient ascertainable losses under the NJCFA.
Further, as to the third element, it would seem that
Plaintiffs conduct in defaulting on her loan, rather [*24]
than Defendants' conduct of assigning her mortgage,
caused Plaintiff's alleged injuries. As a result, causation
is insufficiently pled. The Court dismisses Plaintiffs
NJCPA claim without prejudice.

 

 

RICO (Count IV)

Plaintiff next appears to allege two claims under RICO,

alleging (1) a substantive violation of Section _1962/b);
and (2) a conspiracy under Section 1962/d). Compl. Tf
109-111. "The civil RICO statute allows ‘[aJny person
injured in his business or property by reason of a
violation of section 7962 of this chapter [to] sue therefor
in any appropriate United States district court."
Anderson v. Ayling, 396 F.3d 265, 268-69 (3d Cir. 2005)
(quoting 78 U.S.C. § 7964/c)). "The elements
predominant in a /Section 1962] subsection (c) violation
are: (1) the conduct (2) of an enterprise (3) through a
pattern of racketeering activity." Salinas v. United
States, 522 U.S. 52, 62, 118 S. Ct. 469, 139 L. Ed. 2d
352 (1997). Here, Plaintiff alleges as follows:
Defendants, ... interfere[d) with the quiet enjoyment
of Plaintiffs home; burglarize[d] and vandalize[d};
st[ole] the equity in the Plaintiffs home through the
use of sham pleadings, manufactured "evidence"
such as altering documents, fraudulent affidavits
and presented in a civil or bankruptcy action in
order to fraudulently obtain a judgment of
foreclosure.

Compl. J 111. As explained above, allegations relating
to the 2008 and 2014 Foreclosure Actions, as [*25] well
as the Third Assignment, are not considered. As to the
accusations of burglary and vandalism, Plaintiff does not
sufficiently identify who burglarized her property and
when, nor who vandalized her property and when.12
Plaintiff fails to plausibly plead a violation of Section
1962(b). For this reason, Plaintiff's RICO conspiracy
claim under Section 7962(d) must also fail. See
Lightning Lube, Inc. v. Witco Corp., 4 F.3d 1153, 1191
(3d Cir. 1993) ("Any claim under section 1962/d) based
on conspiracy to violate the other subsections of section
1962 necessarily must fail if the substantive claims are
themselves deficient."). The Court dismisses Plaintiffs
RICO claims without prejudice (Count IV).

Civil Conspiracy (Count Il}

Finally, Plaintiff brings a civil conspiracy claim against all
Defendants. Compl. JJ 95-99. Under New Jersey law,
"[a] conspiracy is not actionable absent an independent
wrong." Eli Lilly & Co. v. Roussel Corp., 23 F. Supp. 2d

460, 497 (D.N.J. 1998) (citing Tynan v. General Motors

 

 

12 \t appears that these claims may have already been litigated
too, see Compl. Jf 40-46, warranting preclusive effect.
However, the Court does not have enough information to
definitively decide the Issue. Nevertheless, these allegations
are conclusory.
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Corp., 248 N.J. Super. 654, 668-69, 597 A.2d 1024
App.Div.1997 ), rev'd in part on other grounds, 127 N.J.
269, 604 A.2d 99 (1992)). Since the Court finds that
Plaintiff has failed to plausibly plead any of her other
claims, Plaintiff's civil conspiracy claim also fails. See id.
("the dismissal of [the plaintiff]'s other causes of action
requires dismissal of the conspiracy claim."). Plaintiff's
civil conspiracy claim (Count il) is dismissed without
prejudice.

 

IV. CONCLUSION

For the reasons stated above, [*26] Defendants’
motions to dismiss (D.E. 5, 8, 10, 13, 14, 23) are
granted and the Complaint is dismissed. The Complaint
is dismissed with prejudice as to Defendants Bayview,
FSKS, Diaz, PP, Scheinbach, Johnson, Nelson,
Riggsby, and Junkin. The Complaint is dismissed
without prejudice as to the remaining Defendants, U.S.
Bank, Orion, Caliber, PHDJ, Nealy, M&T, and JP,.
Plaintiff has thirty (30) days to file an amended
complaint as to the counts dismissed without prejudice,
if she so chooses, consistent with this Opinion. If
Plaintiff fails to file an amended complaint, the dismissal
as to the remaining Defendants will be with prejudice.
An appropriate Order accompanies this Opinion.

Dated: April 24, 2019
!s/ John Michael Vazquez

John Michael Vazquez, U.S.D.J.

ORDER

John Michael Vazquez, U.S.D.J.

For the reasons expressed in the accompanying
Opinion, and for good cause shown,

IT IS on this 24th day of April, 2019,

ORDERED that the Defendants’ motions to dismiss
Plaintiffs Complaint (D.E. 5, 8, 10, 13, 14, 23) pursuant
to Fed. R. Civ. P. 12(b)(1) for lack of subject matter
jurisdiction and Fed. R. of Civ. P. 12/6)(6) for failure to
state a claim are GRANTED; and it is further

ORDERED that Defendants Bayview Loan Servicing
LLC, Fein Such Kahan & [*27] Shepard PC, Alejandro
Diaz, PeirsonPatterson LLC, Adam W. Scheinbach,
Tatonia Johnson, Tommie J. Nelson, Connie Riggsby,
and Janell Junkin are DISMISSED with prejudice; and

it is further

ORDERED that Plaintiffs claims against the remaining
Defendants are DISMISSED without prejudice; and it
is further

ORDERED that as to the counts dismissed without
prejudice, Plaintiff has thirty (30) days to file an
amended complaint, if she so chooses, consistent with
the accompanying Opinion. If Plaintiff fails to file an
amended complaint within thirty (30) days, the dismissal
as to the remaining Defendants will be with prejudice;
and it is further

ORDERED that the Clerk of the Court shall serve this
Order and the accompanying Opinion upon Plaintiff by
regular and certified mail return receipt.

/s/ John Michael Vazquez

John Michael Vazquez, U.S.D.J.

 

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